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 7                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 8

 9   UNITED STATES OF AMERICA,                            3:20-cr-00026-MMD-WGC

10                    Plaintiff,                          Government’s Post-Hearing Brief on
                                                          Defendant’s Motion to Dismiss [ECF
11            v.                                          No. 26] 1

12   GUSTAVO CARRILLO-LOPEZ,

13                    Defendant.

14

15                                            I. Introduction

16            Following an evidentiary hearing on Defendant’s Motion to Dismiss, the Court

17   presented the parties with two questions. First, the Court asked whether the Defendant can

18   meet his initial burden under Arlington Heights to show that the passage of Section 1326 was

19   substantially motivated by racial animus, by showing that the Congress of 1952, which

20   passed the first version of the current law, did not affirmatively repudiate racist sentiments

21   expressed by certain members of Congress when passing a superseded statute on the same

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         Certification: This brief is timely. See ECF No. 48
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1    subject matter in 1929. Every federal court to consider this question has concluded that a

2    legislature does not need to affirmatively disclaim historical racism in order to pass an

3    otherwise valid law without discriminatory intent. Especially where, as here, a new version

4    of a prior law is passed in a substantively amended form—regardless of whether that

5    amendment makes the law more or less harsh in its application—federal courts have

6    uniformly concluded that a neutral passage is sufficient to cleanse any taint of

7    discrimination in the law’s history. Because Defendant has offered no competent evidence

8    that the Congress of 1952—or any subsequent Congress that passed an amended version of

9    Section 1326—was motivated by racial animus in enacting the law, he fails to carry his

10   initial burden under Arlington Heights. On that basis alone, the Motion should be denied.

11          Second, the Court asked whether, assuming for purposes of argument that the

12   Defendant could carry his initial burden, the Government has shown that Congress would

13   have passed a law criminalizing illegal reentry absent any discriminatory intent. The

14   evidence in the record clearly demonstrates that Congress would have passed this law

15   absent any racial considerations, in at least two different ways recognized by the case law.

16   First, in cases where “the legitimate noninvidious purposes of a law cannot be missed,”

17   courts have declined to hold that racial animus is a but-for cause of a law’s passage,

18   notwithstanding a disparate impact on a legally cognizable group. See, e.g., Pers. Adm'r of

19   Massachusetts v. Feeney, 442 U.S. 256, 275 (1979). Given the economic and geopolitical

20   factors that Defendant’s experts acknowledged drove the passage of the 1952 law, and the

21   courts’ repeated recognition of the essential function of a deterrent to underpin Congress’s

22   immigration decisions, this is just such a case, and the Court should find that the law

23   would have been passed absent any racial animus. Second, in assessing this question,

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1    courts have repeatedly held that legislatures affirmatively and conclusively demonstrate

2    that a law would have been passed in the absence of racial animus by later passing

3    amended versions of the same law. In the words of the Eleventh Circuit, courts considering

4    such a circumstance “have the luxury of not having to delve into a complex counter-factual

5    scenario,” given that subsequent revisiting of the issue by the legislature in the absence of

6    racial animus makes the answer to the question “plain.” Johnson v. Governor of State of Fla.,

7    405 F.3d 1214, 1224 (11th Cir. 2005). Here, Congress substantively amended the crime of

8    illegal reentry when it passed Section 1326 in 1952, and it subsequently passed five

9    amended versions of Section 1326. Defendant has provided no evidence that Congress was

10   motivated by racial animus in passing any of them. Accordingly, it is similarly “plain” that

11   Congress would have—and has—passed Section 1326 in the absence of any discriminatory

12   intent.

13             In sum, Defendant’s failure to present any competent evidence that Congress was

14   motivated by racial animus in passing any version of Section 1326 forecloses a finding that

15   the statute is unconstitutional. The Court should deny the Motion.

16                                          II. ARGUMENT

17   A.        Defendant Has Failed to Meet His Burden of Showing That Discriminatory
               Intent Was a Substantial Motivating Factor in the Passage of Section 1326.
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               Despite the bedrock judicial presumption that legislatures act deliberately and in
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     good faith, defendant asserts that Congress cannot pass a facially neutral law, without any
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     discriminatory intent, if previous laws on the same subject were motivated in part by
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     racism, and Congress fails to explain and affirmatively repudiate that history. Every federal
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     court to consider this assertion has rejected it. Recently, in Abbott v. Perez, the Supreme
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     Court explained that “the presumption of legislative good faith [is] not changed by a
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1    finding of past discrimination.” 138 S. Ct. 2305, 2324-25 (2018) (noting the Court has

2    “never suggested that past discrimination flips the evidentiary burden [of the intent test] on

3    its head.”). In so holding, the Court reiterated its almost forty-year-old statement that “past

4    discrimination cannot, in the manner of original sin, condemn governmental action that is

5    not itself unlawful.” Id.

6           Indeed, another court in this circuit recently considering an identical challenge to

7    Section 1325 2 asked whether “a law related to one that was stained by white supremacy

8    can ever be cleansed without a formal condemnation of the earlier law”—the exact

9    question the Court has asked the parties here—and concluded unequivocally that “the

10   answer derived from a number of federal court decisions is yes.” United States v. Gallegos-

11   Aparicio, No. 19-CR-2637-GPC, 2020 WL 7318124, at *3 (S.D. Cal. Dec. 11, 2020).

12   Despite an absence of legislative history debating Section 1325, the court in Gallegos-

13   Aparicio found that the deliberate process Congress engages in, and the absence of “any

14   discriminatory motive” on the part of the Congress that actually passed the law, required it

15   to conclude that the challenging defendant had not met his burden, evidence of historical

16   racism notwithstanding.

17          This approach is consistent not only with the mandate of the Supreme Court in

18   Abbott, but also with the approach of every court of appeals to consider legislation that may

19   have been historically tainted by discriminatory motives in an earlier form, but was passed

20   in its then-current form without discriminatory intent on the part of the reenacting

21   legislature. Three circuit courts of appeals, the Second, Fifth, and Eleventh, have all

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      Both Section 1325 and Section 1326 create criminal penalties for unlawful immigration.
     Section 1325 makes it a misdemeanor to enter the country unlawfully, where as Section
24   1326 makes it a felony to reenter the country after having been previously deported.

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1    concluded that the amendment or re-enactment of an existing law, in the absence of

2    discriminatory intent, cleanses that law of any discriminatory aspects of its history for

3    purposes of an equal protection analysis. Hayden v. Paterson, 594 F.3d 150, 164–68 (2d Cir.

4    2010) (holding that amended version of New York constitutional provision passed in 1894

5    concerning felon disenfranchisement was not tainted by racial animus, even assuming that

6    prior enactments of the same provision were so tainted); Johnson v. Governor of State of Fla.,

7    405 F.3d 1214, 1223–26 (11th Cir. 2005) (en banc) (rejecting argument that, assuming 1868

8    version of felon disenfranchisement provision in Florida state constitution was motivated

9    by racism, the reenacted version passed in 1968 without evidence of animus was invalid

10   absent acknowledgement and repudiation of that earlier racism); Cotton v. Fordice, 157 F.3d

11   388, 391–92 (5th Cir. 1998) (felon disenfranchisement provision in Mississippi state

12   constitution did not violate Equal Protection Clause where amended versions were twice

13   passed in the absence of evidence of discriminatory intent, notwithstanding agreement of

14   parties that original enactment was motivated by racial animus). Each of these decisions

15   upheld laws challenged on the grounds that they had historically been associated with

16   racism, relying on the deliberative process legislatures go through in passing legislation,

17   and on the fact that the laws were substantively amended in their newer form. Each of

18   these decisions looked to the most recently amended versions of the laws in question, as

19   those were the operative versions of the laws being challenged, and therefore the relevant

20   “decision” under Arlington Heights. Each of these decisions upheld the operative versions of

21   the challenged law in the absence of evidence of explicit debate over the provision in the

22   legislative history, as deliberation by the legislature is presumed.

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1           Notably, this principle holds true regardless of whether the allegedly discriminatory

2    law is made more lenient or harsher by amendment. In Hayden, the Second Circuit relied

3    on an amendment to the New York Constitution that took discretion away from the

4    legislature to consider not disenfranchising felons—it made felon disenfranchisement laws

5    in the state mandatory. Hayden, 594 F.3d at 167.

6           Defendant has conceded that Congress, after taking evidence on the issue,

7    substantively amended the law of illegal reentry to facilitate prosecutions in cases where

8    venue was previously impossible to establish. 3 See ECF No. 45 (submitting the committee

9    hearing on proposed changes to the law); ECF No. 46 (explaining that these hearings are

10   part of Congress’s deliberative process); compare also ECF No. 49 (“Hr’g Tr.”) at 182:12-

11   183:13 (Prof. Gonzalez O’Brien professing a need to refer to the statutes to articulate the

12   change in law) with Hr’g Tr. at 184:14-185:5 (Prof. Gonzalez O’Brien adopting defense

13   counsel’s characterization of the change to the law). Nor does Defendant challenge the fact

14   that Congress subsequently amended Section 1326 to increase its deterrent value on five

15   separate occasions. See ECF No. 29 at 5:15-6:5 (summarizing amendments).

16          Defendant has nonetheless asserted that the strengthening of a challenged law

17   cannot serve as evidence that the law is not motivated by animus. But it is hard to imagine

18   better evidence that a law is motivated by a valid, important, nondiscriminatory purpose

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20   3
       Defendant argued in a supplement that the record of discussion on this point referred
21   “exclusively to Mexicans.” ECF No. 45. For the reasons explained in the government’s
     response, this is factually incorrect, and the commentary reveals that migrants crossing the
22   southern border were actually less likely to be prosecuted than migrants entering the country
     illegally on the East Coast. See ECF No. 46. It cannot be asserted that people from Latin
23   America were subjected to disparate treatment on the basis that they were previously less
     likely to be subject to prosecution than immigrants originating elsewhere, and that the law
24   was revised to put similarly-situated defendants on equal footing.

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1    than its repeated strengthening in the absence of any evidence of racial animus. Hayden

2    makes clear that it is not the effect of the amendment of laws with potentially troubling

3    histories that matters, it is the consideration that the process of amendment necessarily

4    entails.

5           Defendant asks the Court to ignore this consistent presumption of legislative good

6    faith on the part of amending and reenacting legislatures. But the consistent refusal by the

7    courts in the decisions cited above to presume that the legislatures in question mindlessly

8    carried forward racial animus of the past not only comports with the Ninth Circuit’s

9    repeated admonition that “Congress is presumed to act with deliberation when passing

10   statutes,” but it makes intuitive sense. E.E.O.C. v. Karuk Tribe Hous. Auth., 260 F.3d 1071,

11   1082 (9th Cir. 2001); see also, e.g., United States v. Motamedi, 767 F.2d 1403, 1406 (9th Cir.

12   1985) (“We must presume that Congress acts with deliberation, rather than by inadvertence,

13   when it drafts a statute.”). When passing an amended version of a law, legislatures do not

14   add words to statutory text in a vacuum. The amended provisions necessarily reflect a

15   consideration of, and a desire to improve, the existing statutory framework. Defendant asks

16   the Court to presume that historical discrimination is carried forward thoughtlessly by

17   legislatures unless the legislatures affirmatively identify and disclaim any elements of

18   discrimination that may have influenced prior legislation. But that presumption has not

19   only been repeatedly rejected by federal courts in every context in which it has arisen, but

20   fundamentally conflicts with how courts understand legislatures to do their work.

21          Even the testimony of Defendant’s own expert supports the conclusion he resists—

22   that Congress should not be presumed to either silently or thoughtlessly carry forward the

23   intent of prior legislatures. When directed by the Court to identify an instance in which

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1    Congress passed a statute while considering the racial implications of the law’s history and

2    its application Defendant’s historian, Prof. Benjamin Gonzalez O’Brien, identified the

3    Congress of 1952 in its passage of the McCarran-Walter Act. Hr’g Tr. at 179:18-181:7. There is no

4    reason to believe that a Congress the Defendant’s expert has identified as explicitly

5    concerned with historical issues of race when passing legislation, would nonetheless

6    condone a racially motivated provision located elsewhere in that same piece of legislation

7    with unanimous silence. A far better explanation is that the obvious legitimate purposes

8    animating the passage of Section 1326, conceded by Defendant’s experts and discussed in

9    more detail below, made the passage of the law uncontroversial, and therefore not subject

10   to significant debate. The fact that no one in Congress expressed a belief that Section 1326

11   was racially motivated can hardly be taken as evidence that racial discrimination was a

12   substantial motivating factor for the passage of the law.

13          Defendant has offered no competent evidence that racial discrimination motivated

14   the Congress of 1952 or any subsequent Congress in the passage of Section 1326. Absent

15   such evidence, he cannot meet his initial burden under Arlington Heights, as every federal

16   court to consider this question has concluded notwithstanding evidence of discrimination

17   in prior legislative history. The Government anticipates based on prior briefing that the

18   Defendant will rely heavily on the Supreme Court’s decision in Hunter v. Underwood for the

19   propositions that the Court can adopt the opinions of its experts as a substitute for factual

20   evidence of discrimination by Congress.4 Defendant would be wrong to do so.

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      Defendant may also cite Hunter for the proposition that legislative changes made to a law
     over time do not reflect reconsideration of that law. But, as explained by the courts in
23   Hayden and Johnson, the crucial distinction is that the law in Hunter was only amended
     through judicial action, and was never revised or neutrally reconsidered by the legislature.
24   See Johnson, 405 F.3d at 1222; Hayden, 594 F.3d at 166.

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1           First, while the Court in Hunter accepted the testimony of historians on the issue of

2    discriminatory intent on the part of the delegates to a state constitutional convention, it did

3    so on the understanding that “[t]he delegates to the all-white convention were not secretive

4    about their purpose,” and that neither the district court that upheld the law nor the

5    appellants defending the law “seriously dispute[d] the claim that [the] zeal for white

6    supremacy ran rampant at the convention.” Hunter v. Underwood, 471 U.S. 222, 228-29

7    (1985). The Court also pointed to an explicit statement by the president of the convention

8    in question that the purpose of the convention was “to establish white supremacy in this

9    State.” Id. Nothing remotely comparable exists in the record before the Court here. Indeed,

10   while each expert offered their opinion that Section 1326 was passed with discriminatory

11   intent, neither expert identified a single legislator who they allege supported the passage of

12   Section 1326. 5 Professor Lytle Hernandez did not testify regarding the events surrounding

13   the 1952 passage of Section 1326 at all. Professor Gonzalez O’Brien was unable to point to

14   anything in the legislative history of the McCarran-Walter Act, which passed the 1952

15   version of Section 1326, that affirmatively demonstrated the passage of Section 1326 was

16   driven by racial animus. See Hr’g Tr. 176:2-177:16 (stating in response to a question from

17   the Court that the signifiers of racism against Mexicans he asserts were not present in the

18   debate over McCarran-Walter, and that his “read of the Congressional debate over

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      Defendant does appear to have attempted to argue in a supplement that Senator Patrick
     McCarran, one of the sponsors of the bill, was generally a racist. See ECF No. 44.
22   Regardless of any general xenophobic views he may have held, Senator McCarran was
     supportive of loosening restrictions on immigration from Mexico, and of condoning illegal
23   immigration across the southern border, as discussed in the government’s response to that
     supplement. See ECF No. 46. Defendant has offered no testimony to further this point, and
24   appears to have abandoned it.

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1    McCarran-Walter is that Mexicans just didn’t come up”). 6 The bare opinions of these

2    historians, absent supporting factual evidence of discrimination by the relevant

3    decisionmakers in Congress in 1952 and later, provide no basis for the Court to conclude

4    that the Defendant has met his burden.

5           Nor should the Court accept Defendant’s suggestion that dicta in the Supreme

6    Court’s decisions last year in Ramos v. Louisiana and Espinoza v. Montana Dep’t of Revenue

7    relieve him of the burden of proving discriminatory intent once he can point to historical

8    racism. As explained in the government’s prior briefing, neither case says anything of the

9    kind, as every court to confront this question has held. See, e.g., United States v. Gallegos-

10   Aparicio, No. 19-CR-2637-GPC, 2020 WL 7318124, at *2 (S.D. Cal. Dec. 11, 2020)

11   (describing an identical argument as “unavailing”). When it actually confronted an equal

12   protection challenge last year, the Supreme Court reiterated its longstanding assertion that

13   for purposes of an Arlington Heights analysis, statements “remote in time and made in

14   unrelated contexts” do not “qualify as ‘contemporary statements’ probative of the decision

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16   6
      The government further maintains its position that the testimony Prof. Gonzalez O’Brien
17   provided in this case regarding the historical meaning of the term “wetback” is inconsistent
     with testimony he gave in the District of Oregon, in a hearing on an identical motion five
18   days earlier, that the term was broadly used to refer to individuals in the country illegally
     without reference to national origin. See Hr’g Tr. at 162:18-165:12. Due to blackouts caused
19   by freezing weather in Portland, the transcript from that hearing will not be prepared by the
     date this brief is due. The government is mindful of the Court’s admonition that it would
20   not change the due date for post-hearing briefs to await that transcript. Hr’g Tr. at 192:2-5.
     The government therefore intends to seek leave to submit the transcript if it becomes
21   available prior to this Court’s decision on Defendant’s Motion. Nonetheless, testimony
     provided by Prof. Gonzalez-O’Brien that the term referred exclusively to individuals in the
22   country illegally, and that the term was frequently used by Mexican-American civil rights
     hero Cesar Chavez to refer to individuals in the country illegally (Hr’g Tr. at 165:20-166:21)
23   conclusively demonstrates that the general use of this outdated term in the 1950’s does not
     meet Defendant’s burden of showing that the passage of Section 1326 was motivated by
24   animus.

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1    at issue.” DHS v. Regents of the Univ. of California, 140 S. Ct. 1891, 1916 (2020) (plurality

2    opinion). That is all Defendant has offered—in the form of statements from a handful of

3    legislators in 1929—to support his Motion.

4           Absent any evidence of discriminatory intent on the part of any Congress who has

5    passed a version of Section 1326, and in light of the obvious legitimate motivating purposes

6    for the law discussed in further detail below, Defendant cannot meet his initial burden

7    under Arlington Heights. The Court should deny the Motion.

8    B.     Section 1326 Has Been Repeatedly Reconsidered and Reenacted for Obvious
            Legitimate Reasons in the Absence of Racial Animus, Thereby Satisfying the
9           Government’s Burden Under the Second Prong of Arlington Heights

10          As discussed above, Defendant has failed to meet his burden of establishing that

11   racial discrimination motivated the passage of any version of Section 1326 from 1952

12   onwards, and that is all the Court needs to deny the Motion. Nonetheless, given (1) the

13   obvious valid reasons for attaching criminal penalties to violations of immigration law, and

14   (2) the fact that Congress has repeatedly passed amended versions of the law in the absence

15   of any evidence of discriminatory intent, the Court could forgo the first step of the Arlington

16   Heights analysis and conclude that the law would pass (and in fact has passed) in the

17   absence of any discriminatory motivation.

18          First, it is obvious and uncontroverted that valid, nondiscriminatory objectives

19   motivated the passage of Section 1326 in 1952 and its later amendments. Defendant’s own

20   expert, Prof. Lytle Hernandez, acknowledged that support for border enforcement is driven

21   by a desire to protect American citizens from economic competition (Hr’g Tr. at 42:14-

22   44:3), by a need to maintain national security (Hr’g Tr. at 50:1-17), and by a need to

23   maintain foreign relations with international allies, including Mexico, which has

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1    historically opposed illegal migration from Mexico to the United States (Hr’g Tr. at 44:13 -

2    47:23) (acknowledging threats made by Mexican government if U.S. did not curb illegal

3    migration). Moreover, the fact that workers without immigration status are subject to

4    exploitation creates concerns about working conditions for both the immigrants

5    themselves, and others competing with them economically. See Hr’g Tr. at 42:14-43:6;

6    60:1-61:25. The Ninth Circuit has stated that it is “plain” that Section 1326 “is a necessary

7    piece of the immigration-regulation framework” that addresses these interests, and that

8    “without the threat of criminal prosecution that [Section 1326] provides, Congress’s

9    immigration-regulation authority would be fatally undermined—all bark and no bite.”

10   United States v. Hernandez-Guerrero, 147 F.3d 1075, 1078 (9th Cir. 1998).

11          In cases such as this, where valid noninvidious purposes motivating a law “cannot

12   be missed,” courts have refused to find that a discriminatory motive was the but-for cause

13   of the law’s passage, absent some direct evidence of discriminatory intent on the part of the

14   passing legislature. See, e.g., Feeney, 442 U.S. at 275; Hayden, 594 F.3d at 167-68 (upholding

15   felon disenfranchisement law given the “obvious alternative explanation” for its passage).

16   In determining that an asserted noninvidious purpose was obvious, the Second Circuit in

17   Hayden looked to jurisdictions outside New York to determine whether the challenged law

18   had arisen in other contexts absent discrimination, and found that it had. Hayden, 594 F.3d

19   at 167-68 (noting adoption of felon disenfranchisement laws in “virtually every state”). In

20   addition to the plainly noninvidious purposes for Section 1326 described above, the

21   conclusion that Section 1326 was not passed out of a discriminatory motive is buttressed by

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1    the fact that most countries around the globe attach criminal penalties to entering their

2    borders without permission. 7

3           Second, given that Section 1326 has been passed six times in various amended

4    versions, all in the absence of any evidence of discriminatory intent, the Court need not

5    engage in a counterfactual analysis to conclude that the law would pass absent

6    discriminatory intent. It has done so on multiple occasions. As the Eleventh Circuit in

7    Johnson concluded, this repassage of an amended version of the statute “conclusively

8    demonstrates that the [legislature] would enact this provision even without an

9    impermissible motive and did enact the provision without an impermissible motive.”

10   Johnson, 405 F.3d at 1224 (holding that “[t]he state has met its burden as a matter of law by

11   substantively reenacting the law for race-neutral reasons.”). As discussed in the

12   government’s response to Defendant’s Motion, five amended versions of Section 1326 have

13   been passed since 1952, and Congress’s repeated neutral reconsideration and repassage of

14   the law is more than enough to establish that the law “would have” passed absent any

15   discriminatory motive, given that it has repeatedly done so. ECF No. 29 at 20:4-22:13.

16          Perhaps the clearest example of Congress reconsidering and strengthening Section

17   1326 in the absence of any desire to discriminate against people of Hispanic descent is its

18   passage of the Immigration Act of 1990. As noted in the government’s response to

19   Defendant’s supplement, this law was passed following a report to the Senate Judiciary

20   Committee that examined the history of immigration policy in the United States, including

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       The Law Library of Congress, Criminalization of Illegal Entry Around the World 2 (Aug. 2019)
     available at loc.gov/law/help/illegal-entry/illegal-entry.pdf (noting that “162 countries that have
23   laws criminalizing or otherwise punishing illegal entry,” that “124 countries that treat illegal
     entry as a crime,” and that “criminal sanctions may apply if aggravating circumstances are
24   present” in countries that treat illegal entry as a civil matter).

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1    the influence of the eugenics movement that Defendant claims taints all subsequent

2    legislation. See ECF No. 46 at 2 n.1; ECF No. 46 Ex. A at 4. Provisions of the law

3    included, among other things, more than doubling the then-existing cap on immigration,

4    granting Temporary Protected Status to citizens of El Salvador fleeing that country’s civil

5    war, and creating a diversity visa program to increase the number of visas provided to

6    countries that were underrepresented in admission to the United States. Immigration Act of

7    1990, Pub. L. No. 101-649, 104 Stat. 4978. The nondiscriminatory purpose of this law

8    could hardly be more apparent, and one court has described the legislative history behind

9    its enactment as “about face away from the racist trope that accompanied the enactment of

10   the 1929 immigration law” that Defendant decries. Gallegos-Aparicio, 2020 WL 7318124, at

11   *3. As part of that same statute, Congress reconsidered the statutory framework of Section

12   1326, and decided to increase the fine provision. Immigration Act of 1990, Pub. L. No.

13   101-649, 104 Stat. 4978. That Congress has viewed Section 1326 as an important tool to

14   further its immigration policies, in the absence of any discriminatory motive, is plainly

15   demonstrated by the provisions of this law.

16            It is further worth noting that, according to the scholarship of Defendant’s own

17   expert, Prof. Gonzalez O’Brien, the amendments strengthening the deterrent value of

18   Section 1326 only came after an attempt by Congress to reduce illegal immigration by

19   other, non-deterrent means in the Immigration Reform and Control Act of 1986 that was

20   unsuccessful. 8 Hr’g Tr. at 150:13-153:2 (noting, for example, IRCA’s amnesty program,

21   which was followed by a surge in illegal immigration). Indeed, the central thesis Prof.

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         Pub.L. 99–603, 100 Stat. 3359.
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1    Gonzalez O’Brien’s book Handcuffs and Chain Link, is that Congress’s return in the 1980’s

2    and 1990’s to reliance on deterrent criminal measures to reduce illegal immigration was a

3    product of IRCA’s failure to reduce the population of undocumented immigrants in the

4    United States. Hr’g Tr. at 138:15-139:25. While Prof. Gonzalez O’Brien may not agree

5    with the means through which Congress has chosen to address the problems presented by

6    illegal immigration, that is not a basis to invalidate the law. Given that his own scholarship

7    asserts that Congress’s continued use of criminal deterrence to curb illegal immigration is a

8    product of a judgment that other means have failed to adequately address the problem, it

9    cannot plausibly be argued that Section 1326 has only been carried forward from 1929

10   through sheer inadvertence, as Defendant suggests.

11          In sum, given the obvious valid reasons for enacting criminal immigration law, and

12   Congress’ continued reconsideration and repassage of Section 1326 in various amended

13   forms, the record conclusively demonstrates that the law would be passed—and has been

14   passed—in the absence of any discriminatory intent. Even setting aside Defendant’s failure

15   to meet his initial burden under Arlington Heights, the Court should deny the Motion.

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                                           III. Conclusion
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            For the foregoing reasons, the Court should deny Defendant’s Motion to Dismiss.
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            Respectfully submitted this 23rd day of February, 2021.
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21
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